                Case:
ILND 450 (Rev. 10/13)     1:14-cv-06004
                      Judgment in a Civil Action   Document #: 10 Filed: 08/29/14 Page 1 of 1 PageID #:35

                                        IN THE UNITED STATES DISTRICT COURT
                                                      FOR THE
                                           NORTHERN DISTRICT OF ILLINOIS

         Harold Oliver                                          )
         Plaintiff(s)                                           )   Case No. 14 C 6004
                                                                )
v.                                                              )
         Kevwe Akpore                                           )
         Defendant(s)

                                               JUDGMENT IN A CIVIL CASE
Judgment is hereby entered (check appropriate box):

         ☐         in favor of plaintiff(s) Enter name of plaintiff
                   and against defendant(s) Click here to enter text.
                   in the amount of $Click here    to e ,

                             which ☐ includes Enter amount pre–judgment interest.
                                       ☐ does not include pre–judgment interest.

     Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

     Plaintiff(s) shall recover costs from defendant(s).


         ☐         in favor of defendant(s)
                   and against plaintiff(s)
.
     Defendant(s) shall recover costs from plaintiff(s).


         ☒         other:     Harold Oliver’s petition for a writ of habeas corpus is dismissed for lack of jurisdiction
pursuant to 28 U.S.C. § 2244(b)(3)(A).

This action was (check one):

☐ tried by a jury with Judge             presiding, and the jury has rendered a verdict.
☐ tried by Judge Select Judge without a jury and the above decision was reached.
☒ decided by Judge Charles P. Kocoras on a motion (Petition) for writ of habeas corpus.




Date:    8/29/2014                                              Thomas G. Bruton, Clerk of Court

                                                                /s/ Yolanda Pagan, Deputy Clerk
